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                                     UNITED STATES DISTRICT COURT
 1                                  FOR THE DISTRICT OF PUERTO RICO
 2

 3   SKYTEC, INC.,
                                                             No. 3:15-CV-02104-BJM
 4                                           Plaintiff,
                  v.
 5
                                                             The Honorable Bruce J. McGiverin
 6   LOGISTIC SYSTEMS, INC.,

 7                                        Defendant.

 8

 9
     MOTION REQUESTING SCHEDULING OF HEARING ON DAMAGES IN LIGHT OF THE
10       U.S. BANKRUPTCY COURT’S MODIFICATION OF AUTOMATIC STAY OF
                      PROCEEDINGS AGAINST SKYTEC, INC.
11
     TO THE HONORABLE COURT:
12

13                NOW COMES, Defendant-Counterclaimant Logistic Systems, Inc. (“LogiSYS”), through

14   its undersigned attorneys, and respectfully sets forth and prays:

15                On September 12, 2018, this Court granted a contempt motion filed by LogiSYS seeking
16   terminating sanctions for Skytec’s discovery abuses. Dkt. 160. The Court’s Order dismissed
17
     Skytec’s claims against LogiSYS with prejudice. Dkt. 160. The Court additionally entered default
18
     against Skytec on LogiSYS’s counterclaims and ordered a default damages hearing to be held in
19
     lieu of trial. Dkt. 160.
20

21                The same day the Court issued its Order, Plaintiff Skytec, Inc. (“Skytec”) filed for

22   bankruptcy. Skytec’s bankruptcy filing triggered an automatic stay of this case. 11 U.S.C. §

23   362(a)(1). In a September 14, 2018 Order, this Court acknowledged the stay and requested it be
24
     notified immediately in the event that the stay is lifted. Dkt. 167.
25

26

     NOTICE REGARDING LIFT OF AUTOMATIC STAY - 1
     Case No. 3:15-CV-02104-BJM



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                  On November 13, 2018, the Bankruptcy Court entered an order modifying the automatic
 1

 2   stay. See Minute Entry on November 13, 2018 Hearing on Motion for Relief From Stay Under §

 3   362 (e), In re Skytec, Inc., Case No. 18-05288 (ESL), November 15, 2018, attached as Exhibit A.

 4   The 14-day stay of execution of the order lifting the stay expired on November 29, 2018. See Fed.
 5
     R. Bankr. P. 4001(a)(3).
 6
                  Therefore, this motion serves to notify the Court that the automatic stay of the above-
 7
     captioned proceeding has been modified for the limited purpose of allowing the action before this
 8
     Honorable Court to continue to the point of judgment. LogiSYS hereby requests that the Court
 9

10   schedule a hearing on the issue of damages and advises the Court that it will file a motion for fees

11   and costs so that a final judgment amount may be liquidated.1
12                The sole remaining issue in this case is the determination of the damages owed to LogiSYS
13
     on LogiSYS’s counterclaims. LogiSYS is prepared to attend a damages hearing at the Court’s
14
     convenience.
15

16                RESPECTFULLY SUBMITTED this 30th day of November, 2018.

17
                                                            s/ Carlos A. Rodríguez Vidal
18                                                          Carlos A. Rodríguez Vidal
19                                                          USDC PR 201213
                                                            Counsel for Logistic Systems, Inc.
20                                                          Goldman Antonetti & Cordova, LLC
                                                            Post Office Box 70364
21                                                          San Juan, PR 00936-8364
                                                            Crodriguez-vidal@gaclaw.com
22

23

24   1
       For purposes of the Court’s consideration in scheduling the hearing requested herein, LogiSYS
     respectfully informs that the Puerto Rico counsel for LogiSYS and LogiSYS’s expert, Mr. Carlos
25
     Baralt, will be simultaneously unavailable from December 20, 2018 until January 10, 2019, both
26   inclusive.

     NOTICE REGARDING LIFT OF AUTOMATIC STAY - 2
     Case No. 3:15-CV-02104-BJM



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                                                   s/ Samuel T. Bull
 1                                                 s/ Lauren J. King
 2                                                 s/ Kelly Mennemeier
                                                   Sam T. Bull
 3                                                 Washington State Bar No.: 34387
                                                   Lauren King
 4                                                 Washington State Bar No.: 40939
                                                   Kelly Mennemeier
 5
                                                   Washington State Bar No.: 51838
 6                                                 Pro Hac Vice Counsel for Logistic Systems,
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                                                   Kelly.Mennemeier@foster.com
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     NOTICE REGARDING LIFT OF AUTOMATIC STAY - 3
     Case No. 3:15-CV-02104-BJM



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                                         CERTIFICATE OF SERVICE
 1
                  The undersigned hereby certify that on November 30, 2018 the foregoing document was
 2

 3   electronically filed with the Clerk of the Court using the CM/ECF System which will send

 4   notification of such filing to all counsel of record.

 5                Dated this 30th day of November, 2018 in San Juan, Puerto Rico.
 6

 7                                                           s/ Carlos A. Rodríguez Vidal___________
                                                             Carlos A. Rodríguez Vidal
 8                                                           USDC PR 201213
                                                             Counsel for Logistic Systems, Inc.
 9                                                           Goldman Antonetti & Cordova, LLC
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12                                                           s/ Samuel T. Bull
                                                             s/ Lauren J. King
13                                                           s/ Kelly Mennemeier
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14
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     NOTICE REGARDING LIFT OF AUTOMATIC STAY - 4
     Case No. 3:15-CV-02104-BJM



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